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                        THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Norfolk Division

R.M.S. TITANIC, INC.,
Successor in interest to Titanic Ventures,
limited partnership,

       Plaintiff,

v.                                                         Civil Action No. 2:93-cv-902

The Wrecked and Abandoned Vessel, . . .
believed to be the R.M.S. TITANIC, in rem,

       Defendant.


            NOTICE OF WITHDRAWAL OF MOTION TO INTERVENE BY
             OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS
                       AND RESERVATION OF RIGHTS

       The Official Committee of Equity Security Holders (the “Equity Committee”) in the

Chapter 11 cases of Premier Exhibitions, Inc., and its subsidiaries (collectively, the “Debtors”),

including RMS Titanic, Inc. (“RMST”) gives Notice of Withdrawal of its Motion to Intervene in

this case (the "Motion to Intervene") (Docket No. 471), and says:

       The Equity Committee gives notice of withdrawal of the Motion to Intervene pending a

ruling from the Bankruptcy Court on approval of the Equity Committee's disclosure statement.

       The Equity Committee conferred with counsel for RMST and counsel for the United

States prior to filing this Notice, and both counsel confirmed they do not oppose withdrawal of

the Motion to Intervene but were not consenting to any future request to refile.

       For the foregoing reasons, the Equity Committee gives notice of withdrawal of its Motion

to Intervene, without prejudice, and reserves its right to refile the Motion to Intervene should the

Bankruptcy Court approve the Equity Committee's disclosure statement.




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Dated: September 6, 2018.
                                       Respectfully submitted,

                                       THE OFFICIAL COMMITTEE OF
                                       EQUITY SECURITY HOLDERS OF
                                       PREMIER EXHIBITIONS, INC.

                                       By Counsel:

                                       /s/ Jeffrey G. Gilmore
                                       Jeffrey G. Gilmore (VSB No. 21971)
                                       John M. Neary (VSB No. 84984)
                                       AKERMAN LLP
                                       750 Ninth Street, N.W., Suite 750
                                       Washington, D.C. 20001
                                       Telephone: (202) 393-6222
                                       Facsimile: (202) 393-5959
                                       Email: jeff.gilmore@akerman.com
                                       Email: john.neary@akerman.com

                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 6th day of September, 2018, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF System which will then send a
notification of such filing (NEF) to the following:

Brian A. Wainger                                  Robert W. McFarland
KALEO LEGAL                                       MCGUIRE WOODS LLP
4456 Corporation Lane, Suite 135                  101 West Main Street, Suite 9000
Virginia Beach, VA 23462                          Norfolk, VA 23510
Telephone: (757) 965-6804                         Telephone: (757) 640-3700
Email: bwainger@kaleolegal.com                    Email: rmcfarland@mcguirewoods.com
Counsel for Plaintiff R.M.S. Titanic, Inc.,       Counsel for Plaintiff R.M.S. Titanic, Inc.,
successor in interest to Titanic Ventures,        successor in interest to Titanic Ventures,
limited partnership                               limited partnership

Kent P. Porter
United States Attorney Office
101 West Main Street, Suite 8000
Norfolk, VA 23510
Telephone: (757) 441-6331
Email: kent.porter@usdoj.gov
Counsel for Amicus United States of America




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                                     /s/ Jeffrey G. Gilmore
                                     Jeffrey G. Gilmore
                                     AKERMAN LLP
                                     750 Ninth Street, N.W., Suite 750
                                     Washington, D.C. 20001
                                     Telephone: (202) 393-6222
                                     Email: jeff.gilmore@akerman.com
                                     Counsel for the Official Committee of Equity
                                     Security Holders of Premier Exhibitions, Inc.




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